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UNITED STATES DISTRICT COURT

MIDOLE DISTRICT GF FLORIDA
ORLANDO DIVISION

ENOCH DONNELL HALL

Petitioner
Case No.! bilT-cv-7e2- Orl-“37GTK
Vv. oS
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SECRETARY, FLORIDA 22 = é
DEPARTMENT OF CORRECTIONS and ne 2 BE
ATTORNEY GENERAL, STATE OF FLORIDA, me Ty
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MOTION To APPOINT MARTINEZ COUNSEL

The undersigned has become aware that, pursuant to Martinez v. Ryan,
132 S. Ct. 1309) 182 L.Ed. 2d (2012), it may be possible to raise additional
grounds in his section 2254 petihon in this Court, and that his current

counsel would operate under a conflict of interest if any additional

qrouncls were raised.

T, Enoch Donnell Hall, acting pro se, respectfully ask this Court
to appoint conflict - free counsel to determine whether additonal

grounds be raised pursuant to Martinez.

Respectfully submitted,

Enech Donmel! Nal (

Enoch Dennell Hall

Petitioner, pro se,
Case 6:17-cv-00762-RBD-GJK Document 35 Filed 10/31/19 Page 2 of 2 PagelD 698

CERTICATE OF SERVICE

I HEREBY CERTIFY, a true and correct copy of the foreqaing motion has been
furnised to Doris Meacham, Florida Office of the Attorney General and Ann Marte

Mirialakis, Assistant Capital Collateral Regional Counsel by First Class pre-
paid postage, to be deposited in the outgoing legal mat! channel, here at

Union Correctional Institution, 2.0. Box (000, Raiford,Floridg 32083 on
this 23hday of October 2019

Respectfully submitted
Emach Denne! No

Enoch Donnell Hall £ 0C#:214353]

Union Correctional Institution
P.O. Box 1000
Raiford, Florida 32083
